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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

DESERT FOX CUSTOM
RESTORATIONS, INC.,

             Plaintiff,

v.                                                           CV No. 19-1150 KRS/CG

CWS MARKETING GROUP, et al.,

             Defendants.

                 ORDER VACATING INITIAL SCHEDULING ORDER
                   AND RULE 16 SCHEDULING CONFERENCE

      THIS MATTER is before the Court on Defendants’ Stipulation, (Doc. 25), filed

March 4, 2020, and the Court’s Order of Transfer, (Doc. 26), filed March 18, 2020.

      IT IS THEREFORE ORDERED that the Court’s Initial Scheduling Order, (Doc.

18), and the Telephonic Rule 16 Scheduling Conference set for March 24, 2020, are

VACATED.

      IT IS SO ORDERED.


                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
